Case 2:03-cv-02789-.]DB-dkv Document 44 Filed 06/16/05 Page 1 of 3 Page|D 73

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‘» FN.MEMFHB

 

DEDDRICK CAMPBELL,
Plaintiff,

vs. No. 03-27893V
CCL CUSTOM M.ANUFACTURING, INC.,
STEVE SHUTLER, TED MELLINGER,
ROGER BOSS, and CATHY
REGENWETHER

h.d\_{v`-¢-.r\.l\_¢\.¢v`.¢vv

Defendants.

 

ORDER ON DISCOVERY CONFERENCE AND AMENDING SCHEDULING ORDER

 

A discovery status conference was held on Thursday, June 16,
2005. Present were John R. Hershberger, attorney for the
plaintiff, and Joseph M. Crout, attorney for the defendant. At the
conference, the court ordered that the plaintiff may take
depositions of the defendants on a week’s notice on the available
days provided by the defendants. The depositions will be taken on
consecutive days, and will commence at 3:00 p.m. and terminate each
day no later than 6:00 p.m. The deposition notices shall issue no
later than Thursday, June 23, 2005. In addition.r no later than
Thursday, June 23, 2005, the plaintiff shall provide to the
defendants five available dates for the plaintiff's deposition to

be set on notice by the defendants.

TmsmmmmnwmmdmnmdmkthHnmmwa
with Rule 58 and;'or TS{a) FRCP on __§L_j__§§"

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Also, in order to complete discovery, it is necessary to
extend the discovery deadline and dispositive motion deadline.
Accordingly, the amended Rule 16(b) Scheduling Order entered in

this cause is amended as follows:

1. Discovery completion deadline: Frida Jul 29 2005.

 

1. Dispositive motions deadlines Frida Au ust 26 2005

 

All other dates remain unchanged.
IT IS SO ORDERED this 16th day of June, 2005.

/<QM/¢/Z@ `Z @//w/

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:03-CV-02789 Was distributed by faX, mail, or direct printing on
June 17, 2005 to the parties listed.

 

 

Charles W. Cavagnaro
BOWLING & BOWLING
7936 Players Forest Dr.
Memphis7 TN 38119

Joseph M. Crout
BOWLING & BOWLING
7936 Players Forest Dr.
Memphis7 TN 38119

John R. Hershberger
HERSHBERGER PRICE, PLLC
239 Adams Ave.

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

